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 1
     Kenneth A. Gallo (pro hac vice)
 2   Joseph J. Simons (pro hac vice)
     Craig A. Benson (pro hac vice)
 3   PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
     2001 K Street, NW
 4   Washington, DC 20006-1047
     Telephone: (202) 223-7356
 5   Facsimile: (202) 223-7420
     Email: kgallo@paulweiss.com
 6   Email: jsimons@paulweiss.com
     Email: cbenson@paulweiss.com
 7
     Stephen E. Taylor (SBN 058452)
 8   Jonathan A. Patchen (SBN 237346)
     TAYLOR & COMPANY LAW OFFICES, LLP
 9   One Ferry Building, Suite 355
     San Francisco, California 94111
10   Telephone: (415) 788-8200
     Facsimile: (415) 788-8208
11   Email: staylor@tcolaw.com
     Email: jpatchen@tcolaw.com
12
     Attorneys for Plaintiffs Sharp Electronics Corporation,
13   Sharp Electronics Manufacturing Company of America, Inc.

14

15
                                      UNITED STATES DISTRICT COURT
16
                                   NORTHERN DISTRICT OF CALIFORNIA
17
                                           SAN FRANCISCO DIVISION
18
     In re: CATHODE RAY TUBE (CRT) ANTITRUST                    Case No. 07-cv-05944 (SC)
19   LITIGATION
                                                                MDL No. 1917
20   This Document Relates To:                                  [PROPOSED] ORDER GRANTING
21                                                              SHARP’S ADMINISTRATIVE
     Sharp Electronics Corp., et al. v. Hitachi Ltd., et al.,   MOTION TO FILE DOCUMENTS
     Case No. C 13-1173 (SC)                                    UNDER SEAL PURSUANT TO
22
                                                                CIVIL LOCAL RULES 7-11 AND
23                                                              79-5(b)

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     [PROPOSED] ORDER GRANTING SHARP’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL PURSUANT TO
                                  CIVIL LOCAL RULES 7-11 AND 79-5(b)
                          Case Nos. 07-cv-5944, MDL No. 1917; Case No. 13-cv-1173
            Case 4:07-cv-05944-JST Document 2196-2 Filed 11/06/13 Page 2 of 2




 1                 Upon consideration of Sharp’s Administrative Motion to File a Document Under Seal

 2   Pursuant to Civil Local Rules 7-11 and 79-5(b), submitted in connection with Sharp’s Opposition to

 3   Toshiba Defendants’ Motion to Dismiss Sharp’s Complaint, it is hereby:

 4                 ORDERED that the Administrative Motion is hereby GRANTED; and it is further

 5                 ORDERED that the Clerk shall file and maintain under seal:

 6                                  Document to Be Filed Under Seal
 7
                    Exhibit A attached to the Declaration of Vince Sampietro in
 8                  Support of Sharp’s Opposition to Toshiba Defendants’ Motion to
                    Dismiss Sharp’s Complaint
 9

10                  Exhibit A to the Declaration of Craig A. Benson in Support of
                    Sharp’s Opposition to Toshiba Defendants’ Motion to Dismiss
11                  Sharp’s Complaint
12

13   IT IS SO ORDERED.
14

15

16            DATED:                      , 2013         _________________________________
17                                                             HON. SAMUEL CONTI
                                                          UNITED STATES DISTRICT JUDGE
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                                                   -2-
     [PROPOSED] ORDER GRANTING SHARP’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL PURSUANT TO
                                  CIVIL LOCAL RULES 7-11 AND 79-5(b)
                          Case Nos. 07-cv-5944, MDL No. 1917; Case No. 13-cv-1173
